     Case 2:87-cr-00422-JAK     Document 3182 Filed 12/27/90     Page 1 of 4 Page ID
                                         #:23949
                                                                                        _..~.._
                                                                                   ~"
      n
 1

                                                                   ~~~ '       ~""'~f


 3                                                                                      .,

 4                                                           Y                           C &:;eta Y


 5

 6

 7

 8                              UNITED STATES DISTRICT COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA             )           No. CR 87-422(F)-ER
                                          1
12                      Plaintiff,        )           ORDER DENYING DEFENDANTS'
                                                      MOTION FOR CONSIDERATION
13                                                    OF INVESTIGATOR'S
                                vs.       )           DECLARATION
14

15   RAFAEL CARO-QUINTERO, et al., )

16                      Defendants.

17

18

19         The Court, having read and considered the motions and opposition

20   filed   in this matter, IT IS HEREBY ORDERED defendants' motion for

21   consideration of the declaration of private investigator Mitchell is

22   DENIED.

23         The Court believes the declaration is unhelpful and improper for

24   the following reasons.          The Court is given considerable discretion to

25   direct an evidentiary hearing.           This Court, in structuring the inquiry

26   in this case, after extensive investigation and briefr.~„~y defendants,
                                                     e~~ ~~,~ - -~~~ -~
27   determined that a concise and limited    ~    ~ e ~k lea 'ng would uncover

28   any juror misconduct while preserving th           p~Qc~~.        afforded a jury.

                    i,jLu   u i;~~
                                                      ~~,.       `~'       ?
     Case 2:87-cr-00422-JAK    Document 3182 Filed 12/27/90          Page 2 of 4 Page ID
                                        #:23950



     e
 1   The   Court     questioned       the   jurors   on     two   occasions   and   accepted
 2   declarations of jurors in support of the motion for a new trial.                      The
 3   declaration at issue in this motion was submitted well after the new

 4   trial motion was heard and a few days before the Court conducted the

 5   evidentiary hearing.           There is no explanation why this declaration was
 6   not submitted at the time the motion was filed.

 7         The case law does not require this Court to hold any type of

 8   specific hearing or accept particular types of evidence.                   The mission
 9   of the Court is to determine what happened through whatever means are

l0   deemed appropriate.       The declaration offered in this case is a hearsay
11   declaration of what an investigator remembers jurors telling him over

12   a month prior to the signing of the declaration.               The declaration is in
13   a   narrative    form    and    appears to      be incomplete.       Only statements
14   supporting      the   defendants'      motion    are    included   and   there   is   no
15   indication as to what questions were being asked and of what jurors.
16   The jurors who were questioned presumably would have been asked the same

17   questions, yet not all jurors are said to have responded to all subject

18   matter areas.     The declarant was hired by defendant to discern evidence

19   to support a new trial motion and therefore his recollection and

20   description of the events may be biased.               Therefore the Court views the
21   declaration's reliability is questionable.
22         The declaration is offered largely to corroborate one juror and

23   impeach other jurors.          The declaration is an attempt to make the jurors
24   the center of this trial. The Court believes it is inappropriate to put

25   the jurors on trial. Rule 6o6(b) prohibits the inquiry into the jurors'

26   thought processes and the jury deliberative process.                      This is to
27   discourage harassment of jurors, insulate the jury room to facilitate

28   free and open discourse, reduce opportunity and incentive for jury



                                                2
     Case 2:87-cr-00422-JAK    Document 3182 Filed 12/27/90   Page 3 of 4 Page ID
                                        #:23951
                          f~                             ~

      u
 1   tampering, promote finality of verdicts, and respect the jury as the

 2   finder of fact. See, McDonald v. Pless, 238 U.S. 264, 267, 35 S.Ct. 783,

 3   784 (1915).    To further subject these jurors to harassment and inquiry

 4   is not needed.    The Court has sufficient evidence before it to evaluate

 5   the credibility of the jurors.         To permit a private investigator to

 6   submit a declaration which has not been adopted by a juror as true to

 7   impeach the juror's statement would subject the jury system to the very

 8   abuses addressed by Rule 606(b).        The investigator in this matter may
 9   have conducted his inquiry in an inappropriate manor.          The Court views
10   this declaration, submitted late in the proceedings, as inappropriate

11   because it tends to harass the jurors.

12         The declaration being offered is unhelpful to the Court.        The Court
13   believes that the two sessions of questioning, the motions, and the

14   declaration of juror Parris are sufficient evidence for the Court to

15   determine what if any extrinsic evidence reached the jury as well as

16   evaluate the credibility of the jurors.       The original inquiry conducted
17   by the Court was during the deliberations.         This is closer in time to
18   the alleged misconduct than the submitted declaration. . Furthermore, the

19   jurors were under oath and the inquiry was carefully circumscribed to

20   protect the jury process.         The alleged statements contained in the

21   declaration go primarily to facts that are not controverted or which the

22   Court is capable of determining without the declaration. Therefore, the

23   Court sees no reason to further subject the Jurors to interrogation and

24   prolong this inquiry for the purpose of admitting a declaration which

25   is unhelpful to the Court.

26         To admit this declaration or reopen this hearing in order that the

27   declarant may testify would prolong and protract the evidentiary hearing

28   beyond the scope and time necessary for a fair and just resolution of



                                             3
     Case 2:87-cr-00422-JAK     Document 3182 Filed 12/27/90     Page 4 of 4 Page ID
                           f~            #:23952          ~.



 1    this motion for a new trial.            The Court sees no reason to admit a

 2    declaration of questionable reliability, limited or negligible use, and

 3    which   tends   to   harass   the   jurors    and   make   them   the   subject   of
 4   impeachment and cross examination.            Defendants' motion is denied.

 5         IT IS SO ORDERED.

 6         IT IS FURTHER ORDERED that the Clerk of the Court shall serve, by

 7   United States mail, copies of this Order on counsel for the parties in

 8   this matter.

 9         DATED:     December ~7     1990.

10

11
                                                     EDW    RAFEEDIE
12                                              United States District Judge

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                               4
